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         JOINT STIPULATION FOR ENTRY OF STIPULATED FEDERAL RULE OF EVIDENCE 502(d) ORDER
     2784169v.1
Case 2:15-cv-09692-PSG-E Document 102 Filed 06/09/17 Page 2 of 3 Page ID #:676



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 9                          UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
                                 WESTERN DIVISION
11
12 Consumer Financial Protection         Case No. 2:15-cv-09692-PSG(Ex)
   Bureau,
13                                       (consolidated for pretrial purposes with Case
        Plaintiff,                       Nos. 2:16-cv-02724-PSG(Ex) and 2:16-cv-
14
   v.                                    02725-PSG(Ex))
15
16 D and D Marketing, Inc., d/b/a        JOINT STIPULATION FOR ENTRY OF
   T3Leads, et al.,
17                                       STIPULATED FEDERAL RULE OF
                                         EVIDENCE 502(d) ORDER
18      Defendants.

19           Plaintiff Consumer Financial Protection Bureau (the “Bureau”) and
20 Defendants D and D Marketing d/b/a T3Leads (“T3”), Marina Demirchyan, Grigor
21 Demirchyan, Dmitry Fomichev, and Davit Gasparyan (a/k/a David Gasparyan)
22 stipulate to and request entry of the accompanying proposed Stipulated Federal Rule
23 of Evidence 502(d) Order consistent with their Joint Rule 26(f) Report. See ECF No.
24 83, pp.9-10.
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                                               2
         JOINT STIPULATION FOR ENTRY OF STIPULATED FEDERAL RULE OF EVIDENCE 502(d) ORDER
     2784169v.1
Case 2:15-cv-09692-PSG-E Document 102 Filed 06/09/17 Page 3 of 3 Page ID #:677



 1 Dated: June 9, 2017
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 3 Respectfully submitted,
 4
 5 Consumer Financial Protection Bureau             Soltman, Levitt, Flaherty & Wattles LLP
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 9 Consumer Financial Protection Bureau             Dmitry Fomichev

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14 /s/ Herbert P. Kunowski                          /s/ Abraham Colman
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15 Herbert P. Kunowski, SBN 150141                  Attorney for Defendant,
16 Attorney for Defendants,                         Davit Gasparyan, a/k/a David Gasparyan
   D and D Marketing, Inc., d/b/a T3Leads;
17 Grigor Demirchyan; and Marina
18 Demirchyan
19
20 Attestation Pursuant To Local Rule 5-4.3.4
21
22 I attest that all other signatories listed, and on whose behalf the filing is submitted,
23 concur in the filing’s content and have authorized the filing of this document.
24
   /s/ Abraham Colman
25 Abraham J. Colman, SBN 146933
26 Attorney for Davit Gasparyan, a/k/a David Gasparyan
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         JOINT STIPULATION FOR ENTRY OF STIPULATED FEDERAL RULE OF EVIDENCE 502(d) ORDER
     2784169v.1
